                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,
       v.                                                   Case No. 04-CR-241

NING WEN,
HAILIN LIN,
JIAN GUO QU, and
RUO LING WANG,

                      Defendants.


 RECOMMENDATION TO THE HONORABLE WILLIAM C. GRIESBACH ON WEN’S
MOTION TO DISMISS BASED ON DIPLOMATIC IMMUNITY AND ORDER ON WEN’S
                       ALTERNATIVE MOTION TO STRIKE
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        On August 9, 2005, the grand jury returned a nine-count, third superseding indictment

 (“indictment”) against Ning Wen (“Wen”). The other three defendants named in this case pleaded

 guilty to charges contained in previous indictments, and Wen is the only defendant scheduled to

 proceed to trial. The first count of the indictment charges Wen with conspiracy to violate export

 restrictions. Counts two and three charge Wen with exporting restricted items to the People’s

 Republic of China (“China”), without the required export license. Counts four and five charge Wen

 with making false representations about the value of exported shipments. Counts six through eight

 charge Wen with money laundering, and Count nine alleges that Wen made false statements to

 Federal Bureau of Investigation agents in conjunction with this investigation.

        On July 8, 2005, Wen filed a “Motion to Dismiss Count One, or in the Alternative to Strike

 Paragraphs 1, 6, 8, 12, and 13 of the Superseding Indictment.” Based on Wen’s need to subpoena



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documents relevant to his motion and the government’s need to consult with the Department of State

before filing its response brief, this motion was subject to a separate briefing schedule. All other

pretrial motions have already been addressed, either by this court court or by the trial court, and only

the motion to dismiss and alternative motion to strike remain pending. The pleadings as to these

motions closed on August 22, 2005, and they are now ready for resolution. A jury trial is scheduled

to commence before the Honorable William C. Griesbach on September 14, 2005, with a final pretrial

conference set for September 2, 2005.

                  MOTION TO DISMISS AND ALTERNATIVE MOTION TO STRIKE

       As grounds for his motion to dismiss and alternative motion to strike, Wen claims that he was

entitled to the protection of diplomatic immunity from December 9, 1987 to March 4, 1992 because

of his position as Consular Officer for the Peoples Republic of China (“Consular”). The indictment

that was in place when Wen filed his motions charged Wen with conspiracy during part of the time

that Wen claims immunity. The particular paragraphs specified in Wen’s motion to strike contain

dates during the aforementioned period.

       On August 19, 2005, the grand jury returned a third superseding indictment, which alleges

conduct occurring after March 16, 1992 only. March 16, 1992 (rather than March 4, 1992) is date that

the government claims Wen’s Consular status came to an end. (Gov. Resp. 2, n. 1.). In view of the

third superseding indictment, this court concludes that Wen’s motion to strike is moot, since the

challenged references to certain time periods is no longer contained in the most recent indictment.

       As to Wen’s motion to dismiss, however, the parties are in dispute as to the manner in which

it should be resolved. The government claims that the motion to dismiss should be denied on the

merits because any protection of diplomatic immunity that applied to Wen necessarily terminated on


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March 16, 1992, the date that Wen’s term as a Consular ended. (Gov. Resp. 4-5.). This position is

based on the premise that diplomatic immunity extends to acts performed in an official capacity only

and that Wen could not have acted in official capacity while no longer a Consular. (Gov. Resp. 4-5.).

        Wen claims that there is no basis for denying his motion to dismiss on the merits and that the

third superseding indictment rendered the motion to dismiss moot. As grounds, Wen submits that the

extent of his diplomatic immunity can only be derived from international treaties between the United

States and China, and not from the cessation of his service as Consular itself. (Wen Reply 2.).

Accordingly, Wen asks that the court decline the government’s proffered legal claims and factual

conclusions, as they are based on general principles about diplomatic immunity and not the

appropriate international treaties. (Id.).

                                              ANALYSIS

        Aside from whether the motion to dismiss should be denied on the merits, it appears that the

parties are largely in agreement. Both parties agree that Wen’s motion to dismiss is no longer

applicable and—at a minimum—that it, together with the alternate motion to strike, is moot in light

of the most recent indictment. In addition, both parties submit that whether particular pre-March 16,

1992 conduct of the defendant should be admitted into evidence will most efficiently be handled by

way of subsequent pretrial motions. (Wen Reply 2; see Gov. Resp. 5 (contemplating a proffer based

on Federal Rule of Evidence 404(b) or the doctrine of “intricately related” evidence).). As such, there

is no need at this time to address the merits of the motion to dismiss. Accordingly, the court will

recommend that the motion to dismiss be denied and will deny the motion to strike, both of which are

now moot. Narrower challenges that Wen may have as to the admissibility of particular conduct will




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be addressed by the trial court, based on the foundation laid and the proffer presented by the

government.

       For all of these reasons, the court now enters the following order and recommendation on

Wen’s motions:

       IT IS THEREFORE ORDERED that Wen’s motion to strike portions of count one based

on diplomatic immunity is denied as moot.

       IT IS THEREFORE RECOMMENDED that Wen’s motion to dismiss based on diplomatic

immunity be denied as moot.

       Your attention is directed to 28 U.S.C. § 636(b)(1)(A), (B) and (C) and General Local Rule

72.3 (E.D. Wis.), whereby written objections to any order or recommendation herein or part thereof

may be filed within ten days of the date of service of this recommendation and order. Objections are

to be filed in accordance with the Eastern District of Wisconsin's electronic case filing procedures.

Courtesy paper copies of any objections shall be sent directly to the chambers of the district judge

assigned to the case. Failure to file a timely objection with the district court shall result in a waiver

of your right to appeal.

               Dated at Milwaukee, Wisconsin this 24th day of August, 2005


                                               s/AARON E. GOODSTEIN
                                               United States Magistrate Judge




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